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 8
     Attorneys for Plaintiff DONEYDA PEREZ as an individual and on behalf of all
 9   others similarly situated
10
                          UNITED STATES DISTRICT COURT
11
12       CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
13   DONEYDA PEREZ as an individual              Case No.:
14   and on behalf of all others similarly
     situated,                                   [Assigned for All Purposes to The
15
                                                 Honorable _____________________;
16                      Plaintiff,               Dept. _____]
17
                                                 CLASS ACTION COMPLAINT
18                v.                             AND JURY DEMAND
19
                                                 Complaint Filed:
20
     DIRECTV GROUP HOLDINGS, LLC,                Trial Date:
21   a Delaware Corporation, LONSTEIN
22   LAW OFFICES, P.C., a New York               REQUEST FOR JURY TRIAL
     Professional Corporation; JULIE
23   COHEN LONSTEIN; and DOES 1-10,
24   inclusive,
25
                        Defendants.
26
27         Plaintiff DONEYDA PEREZ (hereinafter “Ms. Perez” or “Plaintiff”) on
28   behalf of herself and all others similarly situated, complain and alleges as follows:

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 1                               NATURE OF THE CASE
 2         1.     This is a putative class action brought on behalf of Plaintiff Doneyda
 3   Perez and all others similarly situated which arises from the conduct and business
 4   practices of Defendants DIRECTV GROUP HOLDINGS, LLC, LONSTEIN LAW
 5   OFFICES, P.C. and JULIE COHEN LONSTEIN (hereinafter collectively referred
 6   to as “Defendants”).
 7         2.     Defendants have, and continue to, engage in a scheme and course of
 8   conduct in which the owners of small businesses in the State of California (often
 9   minorities based upon their race, ethnicity and/or national-origin) are the focus of
10   unsolicited sales campaigns to sell satellite cable television services provided by
11   Defendants for use in their small businesses. Defendants do not provide the
12   owners with any written contracts, agreements, notices or other documents
13   regarding the satellite cable television services which they have purchased.
14         3.     The business owners do not solicit, request or direct that the satellite
15   cable television services which they have purchased be provided under a
16   residential account; rather, they rely upon Defendants to provide the satellite cable
17   television services which they have purchased for their business under the proper
18   type of commercial accounts.
19         4.     Without the business owners being made aware, Defendants designate
20   the accounts as “residential,” despite the fact that Defendants solicited Ms. Perez
21   and those similarly situated because they were small business owners.
22         5.     After the satellite cable television services have been installed by
23   Defendants, and the owners have used those services in their businesses,
24   Defendants send “independent” auditors to the businesses where they clandestinely
25   obtain photographs and/or video recordings which purport to show that the
26   businesses are using the satellite cable television services in an unauthorized
27   manner as those services are provided under a residential, rather than commercial,
28   account.

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 1         6.     Using the results of these audits, Defendants then send legal
 2   correspondence to the business owners alleging that they have “pirated” or stolen
 3   satellite cable television services, and threaten legal action unless the owners agree
 4   to pay thousands of dollars and/or become “business subscribers.” Occasionally,
 5   Defendants file lawsuits against the small business owners resulting in civil
 6   judgments. Defendants do not confine themselves to minority small business
 7   owners, however they target minority small business owners with the belief that
 8   such owners are less likely to dispute or challenge the allegations.
 9         7.     Thus, in addition to the monthly fees already paid by the small
10   businesses for the satellite cable television services, Defendants have obtained
11   thousands of dollars in additional money which have been paid to Defendants as
12   “settlements,” civil judgments, and/or attorney’s fees and costs, from threatened
13   and/or actual litigation against the small business owners who have been their
14   victims.
15         8.     Due to their course of conduct, Defendants have violated California
16   Business and Professions Code § 17200 (“Unfair Competition Law” or “UCL”)
17   and the Racketeer Influenced and Corrupt Organizations Act (“RICO”).
18         9.     Ms. Perez therefore seeks declaratory, injunctive and monetary
19   damages under the UCL and RICO, on behalf of herself and all others similarly
20   situated within the State of California.
21                                      THE PARTIES
22         10.    Plaintiff Doneyda Perez is an individual residing in Anaheim,
23   California. Ms. Perez is the sole owner of Oneida’s Beauty and Barber Salon, a
24   beauty salon located at 12342 Harbor Boulevard, Garden Grove, California 92840.
25         11.    Defendant DirecTV Group Holdings, LLC (“DirecTV”) is a limited
26   liability company organized under the laws of the State of Delaware, which
27   operates nationwide and maintains its principal executive offices in El Segundo,
28   California. At all times relevant hereto, Defendant DirecTV was and is engaged in

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 1   the business of acquiring, promoting, selling and distributing digital entertainment
 2   (i.e., broadcast and premium television programming) primarily through satellite
 3   transmission to residential and commercial subscribers.
 4         12.     Defendant Lonstein Law Office, P.C. (“Defendant LLO”) is a
 5   professional corporation organized under the laws of the State of New York. At all
 6   times relevant hereto, the Lonstein Law Office, P.C. was and is a law firm retained
 7   by DirecTV to, inter alia, prosecute alleged thefts by small businesses in California
 8   of the satellite cable television services of DirecTV.
 9         13.     Defendant Julie Cohen Lonstein (“Defendant Lonstein”) is an
10   individual who is licensed to practice law in the State of New York, and is a
11   partner with the Lonstein Law Office, P.C. She is not admitted to practice law in
12   the State of California. At all times relevant hereto, Defendant Lonstein was and is
13   an attorney retained by DirecTV to, inter alia, prosecute alleged thefts by small
14   businesses in California of the satellite cable television services of DirecTV.
15         14.     DOES 1-10 are fictitiously named businesses which may have
16   liability under this action and should be made parties hereto, but whose identities
17   are not known at this time. DOES 1-10 are engaged in the business of selling,
18   installing, maintaining, providing, auditing and/or are otherwise involved in the
19   satellite cable television services provided by DirecTV to small businesses in
20   California.
21                            JURISDICTION AND VENUE
22         15.     This action arises under the laws of the United States. This Court has
23   original jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §
24   1331, because Plaintiff’s claims arise under the RICO Statute, 18 U.S.C. § 1962.
25         16.     This Court has personal jurisdiction over Defendants because they
26   have significant minimum contacts with this State, and intentionally availed
27   themselves of the laws of California by transacting a substantial amount of
28   business throughout the State and this District, including but not limited to, the

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 1   promotion, marketing, advertising, and sale of cable television services by
 2   DirecTV throughout the Central District of California, Southern Division.
 3         17.    Venue is proper in this Court under 28 U.S.C. § 1391(b). Plaintiff
 4   resides in the Central District of California, Southern Division, and Defendants are
 5   located in and do business in, the Central District of California, Southern Division.
 6   All of the events that are the subject of this Complaint took place in the Central
 7   District of California, Southern Division.
 8                              FACTUAL ALLEGATIONS
 9         18.    Plaintiff Doneyda Perez (“Ms. Perez”) is the owner of Oneida’s
10   Beauty and Barber Salon, a beauty salon located at 12342 Harbor Boulevard,
11   Garden Grove, California 92840.
12         19.    In or around 2014, Defendants’ authorized representative entered the
13   beauty salon and spoke with Ms. Perez. The individual represented that he was
14   acting on behalf of DirecTV and told Ms. Perez that DirecTV was offering a
15   promotional deal which would provide her business with satellite cable television
16   services for Twenty Seven Dollars and Fifty Cents ($27.50) a month for two (2)
17   years. Defendants had not been solicited by Ms. Perez, nor had she made a request
18   or inquiries to DirecTV regarding satellite cable television services.
19         20.    As a result of Defendants’ representation, Ms. Perez was interested in
20   purchasing the DirecTV promotional deal – which included Spanish-language
21   channels – for her business because she wanted something for her customers to
22   watch on television while they were in the beauty salon. Ms. Perez thought that
23   the deal offered by Defendants was a good one, and therefore agreed to purchase
24   the DirecTV promotional deal to provide her business with satellite cable
25   television services from DirecTV for Twenty Seven Dollars and Fifty Cents
26   ($27.50) a month for two (2) years.
27         21.    Defendants never advised Ms. Perez that the satellite cable television
28   services from DirecTV would be provided to her business under a residential

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 1   account; nor did Ms. Perez ever attempt to solicit, request or direct that the satellite
 2   cable television services from DirecTV would be provided to her business under a
 3   residential account. Instead, based upon the representations from Defendants and
 4   the fact that those discussions had taken place inside the beauty salon, Ms. Perez
 5   relied upon DirecTV to provide her business with satellite cable television services
 6   from DirecTV under the correct type of account.
 7         22.    Ms. Perez was not provided with – nor did she sign – a contract,
 8   agreement, notice or any other documents related to the DirecTV promotional deal
 9   to provide her business with satellite cable television from DirecTV for Twenty
10   Seven Dollars and Fifty Cents ($27.50) a month for two (2) years at the time she
11   agreed to purchase the DirecTV promotional deal. Ms. Perez was only asked to
12   provide her personal information and her bank account information to Defendants.
13         23.    Ms. Perez was never advised that the satellite cable television services
14   from DirecTV would be provided to her business under a residential account.
15   Similarly, Ms. Perez never attempted to solicit, request or direct that the satellite
16   cable television services from DirecTV would be provided to her business under a
17   residential account. Based upon the representations of Defendants and the fact the
18   installation was inside the beauty salon, Ms. Perez relied upon Defendants to
19   provide her business with satellite cable television services from DirecTV under
20   the correct type of account. This reliance is what induced Ms. Perez to provide
21   Defendants with her personal information and bank information.
22         24.    Moreover, Ms. Perez was not provided with – nor did she sign – a
23   contract, agreement, notice or any other documents related to the DirecTV
24   promotional deal at the time of the installation of the satellite cable television
25   services from DirecTV.
26         25.    Thereafter, the only documents related to the DirecTV promotional
27   deal which Ms. Perez ever received were the monthly invoices from DirecTV,
28   which were sent to “2127 West Dogwood Avenue, Anaheim, California 92801.”

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 1   The monthly invoices did not state whether the account was commercial or
 2   residential. See, e.g., the copy of the June 6, 2014 invoice from DirecTV attached
 3   hereto as Exhibit A.
 4         26.    Defendants’ authorized representative, with whom Ms. Perez spoke,
 5   did not advise her that the satellite cable television services from DirecTV would
 6   be (or had been) provided to her business under a residential account; nor did Ms.
 7   Perez ever attempt to solicit, request or direct that the satellite cable television
 8   services from DirecTV would be provided to her business under a residential
 9   account. Instead, based upon the fact that DirecTV had provided satellite cable
10   television services to the salon for nearly two years, Ms. Perez continued to rely
11   upon DirecTV to provide her business with satellite cable television services from
12   DirecTV under the correct type of account.
13         27.    It was therefore much to Ms. Perez’s surprise that she received a
14   phone call in May 2016 from DirecTV, advising her that the Lonstein Law Office
15   had been retained by DirecTV “regarding the unauthorized reception and
16   commercial display of DIRECTV programming at your establishment in violation
17   of the Federal Communications Act and DIRECTV customer agreements.” During
18   the May 2015 phone call with Ms. Perez, DirecTV alleged that on April 8, 2015,
19   an “independent auditor” had “observed and recorded your exhibition of
20   DIRECTV programming” without authorization, and threatened prosecution and/or
21   litigation if Ms. Perez did not contact the Lonstein Defendants within seven (7)
22   days to resolve the matter.
23         28.    Ms. Perez received a letter, dated June 26, 2015, (the “June 26, 2015
24   letter”) on the letterhead of the Lonstein Law Office, P.C. with an attached
25   proposed settlement agreement.      In the proposed settlement agreement, Ms.
26   Lonstein alleged that Ms. Perez’s business had used the satellite cable television
27   services of DirecTV without authorization and threatened prosecution and/or
28

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 1   litigation if Ms. Perez did not pay $5,000.00. See copy of the June 26, 2015 letter
 2   and proposed settlement agreement attached hereto as Exhibit B.
 3         29.       As a result of being misled and fraudulently induced into agreeing to
 4   pay $5,000.00 in order to resolve her alleged outstanding balance with DirecTV,
 5   Ms. Perez began making monthly payments of $500.00 to DirecTV. See July 2,
 6   2015 credit card receipt; August 7, 2015 letter; August 7, 2015 credit card receipt;
 7   American Express Authorization Form; and June 1, 2016 statement attached
 8   hereto as Exhibit C.
 9         30.       As such, there was no formation of a contract or agreement;
10   moreover, since Ms. Perez was not provided with an agreement to arbitrate her
11   claims, or other form of waiver and/or release of her right to file a lawsuit and/or
12   class action, contemporaneously with her agreeing to purchase the satellite cable
13   television services from DirecTV, there is no binding or effective agreement to
14   arbitrate her claims or waiver and/or release of her right to file a lawsuit and/or
15   class action.
16         31.       The above-described conduct by Defendants in their transactions with
17   Ms. Perez are the same and/or substantially similar to the course of conduct
18   engaged in by Defendants in their transactions with numerous other small business
19   owners in California who are similarly situated to Ms. Perez.
20                                  RICO ALLEGATIONS
21         32.       Defendant Lonstein has never been licensed to practice law in the
22   State of California.
23         33.       DirecTV maintained sales representatives in California.
24         34.       At all times relevant hereto, Defendants conducted substantial
25   business throughout the State of California, including marketing, advertising, and
26   providing cable television services in Orange County.
27         35.       At all times relevant hereto, Defendants Lonstein and LLO acted for
28   or on behalf of DirecTV in undertaking the acts and/or omissions alleged herein.

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 1         36.    DirecTV is an “enterprise” within the meaning of 18 U.S.C. §
 2   1961(4), which conducted the pattern of racketeering activity described herein.
 3   Defendants engaged in, and their activities affected interstate commerce because it
 4   involved commercial activities across state lines, including national marketing
 5   campaigns, and the solicitation and receipt of money from victims located
 6   throughout the country.
 7         37.    Defendants were knowingly and willing participants in the Scheme,
 8   and reaped revenues and/or profits therefrom.
 9         38.    Defendants knowingly, willfully, and unlawfully conducted or
10   participated, directly or indirectly, in a pattern of racketeering activity within the
11   meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c). The racketeering activity
12   was made possible by the regular and repeated use of the services and distribution
13   channels of DirecTV.
14         39.    Defendants Lonstein and LLO committed multiple “Racketeering
15   Acts,” as described below, including aiding and abetting such acts.
16         40.    The Racketeering Acts were not isolated, but rather were related in
17   that they had the same or similar purposes and results, participants, victims, and
18   methods of commission.
19         41.    In devising and executing the Scheme, Defendants committed acts
20   constituting indictable offenses under 18 U.S.C. §§ 1341 and 1343, in that they
21   devised and knowingly carried out a material scheme or artifice to defraud or to
22   obtain money by means of materially false or fraudulent pretenses, representations,
23   promises, or omissions of material facts. For the purpose of executing the Scheme,
24   Defendants committed these Racketeering Acts, intentionally and knowingly, with
25   the specific intent to advance the Illegal Scheme.
26         42.    Defendants used numerous authorized representatives to create and
27   perpetuate the Scheme through virtually uniform misrepresentations, concealments
28   and material omissions.

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 1                                CLASS ALLEGATIONS
 2          43.   This action is brought and may properly proceed as a class action,
 3    pursuant to the provisions of Rule 3.765 of the California Rules of Court.
 4          44.   Plaintiff seeks certification of a Class and Subclasses pursuant to
 5    California Civil Code of Procedure § 382, which is composed of and defined as
 6    follows:
 7                a. CLASS: All small business owners in the United States who, at
 8                   any time on or after the day four years prior to the date on which
                     this Complaint is filed, were solicited by Defendants, jointly and/or
 9                   severally, to purchase satellite cable television services provided
10                   by DirecTV for use in connection with their business and who (a)
                     purchased such satellite cable television services and (b) were
11
                     subsequently sent correspondence which was the same or similar
12                   to the June 26, 2016 letters and proposed settlement agreement
13
                     sent to Plaintiff by the Lonstein Defendants regarding allegedly
                     unauthorized use by the business of those satellite cable television
14                   services.
15
                  b. SUBCLASS: All members of the Class who are members of a
16
                     racial, ethnic and/or national origin minority.
17
                  c. SUBCLASS: All small business owners in the State of California
18
                     who, at any time on or after the day four years prior to the date on
19                   which this Complaint is filed, were solicited by Defendants, jointly
20                   and/or severally, to purchase satellite cable television services
                     provided by DirecTV for use in connection with their business and
21                   who (a) purchased such satellite cable television services and (b)
22                   were subsequently sent correspondence which was the same or
                     similar to the May DATE and/or June 26, 2016 letters and
23
                     proposed settlement agreement sent to Plaintiff by the Lonstein
24                   Defendants regarding allegedly unauthorized use by the business
25                   of those satellite cable television services.

26
            45.    The members of the Class and Subclasses for whose benefit this
27
      action is brought are so numerous that joinder of all members is impracticable.
28

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 1          46.       There are questions of law and fact common to the members of the
 2    Class and Subclasses that predominate over questions affecting only individuals.
 3    These common questions include:
 4                    A. Whether Defendants’        actions, as set forth herein, were
 5                       unconscionable commercial practices, deception, fraud, false
 6                       pretenses, and/or misrepresentations in violation of the UCL;
 7                    B. Whether the targeting of minority small business owners, such as
 8                       Plaintiff, by Defendants constitutes an unconscionable business
 9                       practice which violates the UCL;
10                    C. Whether Plaintiff and the members of the Class and/or Subclasses
11                       suffered an ascertainable loss as a result of Defendants’
12                       violation(s) of the UCL;
13                    D. Whether Defendants’ actions constituted a violation of RICO;
14                    E. Whether Plaintiff and the members of the Class and/or Subclasses
15                       suffered damages as a result of Defendants’ violation(s) of RICO;
16                       and
17                    F. What relief are Plaintiff and the members of the Class and/or
18                       Subclasses entitled to under the UCL and RICO.
19          47.       Plaintiff’s claims are typical of the claims of the members of the Class
20    and Subclasses which she represents because all such claims arise out of the same
21    policies, practices, and conduct, and the same or similar documents used by
22    Defendants in their dealings with Plaintiff.
23          48.       Plaintiff has no interests antagonistic to those of the Class and
24    Subclasses.
25          49.       The Class and Subclasses, of which Plaintiff is a member, are readily
26    identifiable.
27          50.       Plaintiff will fairly and adequately protect the interests of the Class
28    and Subclasses, and has retained competent counsel experienced in the prosecution

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 1    of consumer litigation. Proposed Class Counsel has investigated and identified
 2    potential claims in the action. Proposed Class Counsel has a great deal of
 3    experience in handling class actions, other complex litigation, and claims of the
 4    type asserted in this action.
 5          51.    A class action is superior to other available methods for the fair and
 6    efficient adjudication of this controversy since joinder of all members is
 7    impracticable. While the economic damages suffered by the individual members of
 8    the Class and Subclasses are significant, the amount is modest compared to the
 9    expense and burden of individual litigation.
10          52.    The questions of law or fact common to the members of the Class and
11    Subclasses predominate over any questions affecting only individual members.
12          53.    The prosecution of separate actions by individual members of the
13    Class and Subclasses would run the risk of inconsistent or varying adjudications,
14    which would establish incompatible standards of conduct for the Defendants in this
15    action, or the prosecution of separate actions by individual members of the Class
16    and Subclasses would create the risk that adjudications with respect to individual
17    members of the Class and Subclasses would as a practical matter be dispositive of
18    the interests of the other members not parties to the adjudications, or substantially
19    impair or impede their ability to protect their interests. Prosecution as a class action
20    will eliminate the possibility of repetitious litigation.
21          54.    Defendants have acted, or refused to act, on grounds generally
22    applicable to Plaintiff and all class members, thereby making appropriate final
23    injunctive relief or corresponding declaratory relief with respect to the Class and
24    Subclasses as a whole.
25          55.    A class action will cause an orderly and expeditious administration of
26    the claims of the Class and Subclasses, and will foster economies of time, effort
27    and expense.
28    ///

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 1           56.    Plaintiff does not anticipate any difficulty in the management of this
 2    litigation.
 3                                      FIRST COUNT
 4                                (Unfair Competition Law)
 5           57.    Plaintiff re-asserts and incorporates by reference each and every
 6    allegation set forth in the preceding paragraphs as though set forth at length herein.
 7           58.    California Business and Professions Code § 17200 et seq. (also
 8    referred to herein as the “Unfair Business Practices Act” or “Unfair Competition
 9    Law”) prohibits unfair competition in the form of any unlawful, unfair or
10    fraudulent business act or practice.
11           59.    Plaintiff is a “person” within the meaning of California Business and
12    Professions Code § 17204 which allows “any person who has suffered injury in
13    fact and has lost money or property as a result of such unfair competition” to
14    prosecute a civil action for violation of the Unfair Competition Law (“UCL”).
15           60.    Defendants, jointly and/or severally, engaged in unconscionable
16    commercial practices, deception, fraud, false pretenses, and/or misrepresentations
17    and violated the UCL by (1) targeting and soliciting Plaintiff to purchase satellite
18    cable television services from DirecTV at a “special” price or rate; (2) installing
19    residential satellite cable television services in Plaintiff’s business although
20    Defendants knew or should have known that Plaintiff intended to use those
21    services in her business; (3) providing satellite cable television to Plaintiff”s
22    business under a residential account although Plaintiff relied upon Defendants to
23    provide those services to her business under the proper type of account so that she
24    could use those services in her business; (4) deliberately and specifically targeting
25    Plaintiff for a “signal audit” with a resulting manufactured and pre-determined
26    finding that Plaintiff had “pirated” or “stolen” satellite cable television services
27    from DirecTV by using residential satellite cable television services which were
28    not authorized for commercial use; and (5) based upon the manufactured and pre-

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 1    determined results of that signal audit, threatening Plaintiff with prosecution and/or
 2    costly legal action for the purported theft of the satellite cable television services in
 3    order to extort an unreasonable and unconscionable “settlement” from Plaintiff.
 4          61.    Defendants engaged in the same conduct in their transactions with
 5    small business owners similarly situated to Plaintiff. Defendants filed lawsuits
 6    and/or obtained civil judgments against some of those small business owners.
 7          62.    Defendants especially targeted minority small business owners, such
 8    as Plaintiff, because of Defendants’ apparent belief that minority small business
 9    owners would be less likely to dispute or contest their unconscionable business
10    practices. The targeting of minority small business owners such as Plaintiff by
11    Defendants is itself an unconscionable business practice which violates the UCL.
12          A.     Violation of the Digital Infrastructure and Video Competition Act of
13                 2006 and Cable Television and Video Provider Customer Service
14                 and Information Act Violates the UCL
15          63.    California’s legislature passed the Digital Infrastructure and Video
16    Competition Act of 2006, Public Utilities Code § 5800, et seq. (“DIVCA”) because
17    the “increasing competition for video and broadband services is a matter of
18    statewide concern” as “video and cable services provide numerous benefits to all
19    Californians including access to a variety of news, public information, education,
20    and entertainment programming.” DIVCA § 5810(1)(A).
21          64.    The regulations, promulgated under DIVCA are meant to “promote
22    the widespread access to the most technologically advanced cable and video
23    services to all California communities in a nondiscriminatory manner regardless of
24    socioeconomic status” and to “require market participants to comply with all
25    applicable consumer protection laws.” DIVCA § 5810(2)(B) and (D).
26          65.    Similarly, California’s legislature passed the Cable Television and
27    Video Provider Customer Service and Information Act (the “Cable Act”) because
28    “customers of cable and video providers should get their money’s worth for the

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 1    service they subscribe to, and the one way to ensure this is to encourage that
 2    customer service standards be established and that customers be informed to those
 3    standards.” California Government Code § 53054.1(a).
 4          66.    Defendant DirecTV is a cable television company providing
 5    residential cable television services within the State of California and is therefore
 6    subject to DIVCA and/or its enacting regulations and the Cable Act and/or its
 7    enacting regulations.
 8          67.    The Cable Act § 53055.1(b)(1) requires that notice be given to new
 9    customers which includes “a listing of the services offered by the cable television
10    operator or video provider which clearly describes all levels of service, and
11    including the rates for each level of service, provided that, if the information
12    concerning levels of service and rates is otherwise distributed to new customers
13    upon installation by the cable television operator or video provider, the information
14    need not be included in the notice to new customers required by this section.”
15          68.    The Cable Act § 53055.1(a) requires that “each cable television
16    operator or video provider shall annually distribute to employees, to each
17    customer, and to the city, county, or city and county in which the cable television
18    operator or video provider furnishes service to customers, a notice describing these
19    customer service standards.”
20          69.    Plaintiff never received a listing of the services offered by Defendants
21    which clearly described all levels of service including the rates for each level of
22    service (residential/commercial), as required by the Cable Act in the selection of
23    the schedule of prices, rates, terms and conditions most favorable for her individual
24    requirements.
25          70.    Plaintiff never received the annual notice required by the Cable Act
26    which would have advised her of the customer monthly service packages and
27    corresponding rates available according to her billing classification, nor was she
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 1    even advised of her billing classification for the satellite cable television services
 2    from DirecTV.
 3          71.    Defendants therefore violated DIVCA and the Cable Act and/or their
 4    enacting regulations by failing to (1) provide Plaintiff with the listing of services
 5    required by the Cable Act in the selection of the schedule of prices, rates, terms
 6    and conditions most favorable for her individual requirements; and/or (2) provide
 7    Plaintiff with the annual notice required by Cable Act § 53055.1(a), which would
 8    have advised her of the monthly service packages and corresponding rates
 9    available according to her billing classification.
10          72.    By failing to provide Plaintiff with the required listing of services,
11    reasonable efforts and/or timely notice of her billing classification, Defendants
12    caused her to face potential liability for alleged unauthorized use of satellite cable
13    television services from DirecTV, as she had no ability to have a purportedly
14    incorrect billing classification corrected. Without the alleged unauthorized use,
15    Defendants would have had no basis to threaten prosecution and/or litigation.
16    Without the threatened prosecution and/or litigation, Defendants would have no
17    basis to coerce Plaintiff into paying thousands of dollars. In other words, Plaintiff
18    would not have "failed" the audit, but for the failure by Defendant to comply with
19    the Cable Act.
20          73.    The violation of other statutes, particularly statutes that provide
21    specific protections to consumers such as DIVCA and the Cable Act, is evidence
22    of and constitutes an unconscionable commercial practice in violation of the UCL.
23          74.    The failure by Defendants to comply with DIVCA and the Cable Act
24    was in furtherance of their scheme to improperly threaten Plaintiff with
25    prosecution and/or litigation for purportedly unauthorized use of the satellite cable
26    television services from DirecTV, and thereby receive money, in addition to the
27    monthly fees already collected, in the form of, including but not limited to,
28    settlement payments, civil judgments and/or attorney's fees and costs. Defendants,

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 1    jointly and/or severally, therefore engaged in unconscionable commercial
 2    practices, deception, fraud, false pretenses, and/or misrepresentations and violated
 3    § 17200 of the UCL.
 4           75.     Defendants engaged in the same conduct in their transactions with
 5    small business owners similarly situated to Plaintiff. Defendants filed lawsuits
 6    and/or obtained civil judgments against some of those small business owners.
 7           76.     Defendants especially targeted minority small business owners, such
 8    as Plaintiff, because of Defendants’ apparent belief that minority small business
 9    owners would be less likely to dispute or contest their unconscionable business
10    practices. The targeting of minority small business owners such as Plaintiff by
11    Defendants is itself an unconscionable business practice which violates the UCL.
12           77.     As the result of Defendants’ violation of the UCL, Plaintiff has
13    suffered an ascertainable loss, including but not limited to the monthly fees which
14    she already paid for the satellite cable television services from DirecTV, the
15    indebtedness incurred in the amount of $5,000.00 as demanded in the June 26,
16    2015 letter and proposed settlement agreement from the Lonstein Defendants,
17    and/or the attorney’s fees incurred as a result.
18           78.     As the result of Defendants' violations of the UCL, those similarly
19    situated to Plaintiff also suffered ascertainable losses, including but not limited to
20    the monthly fees which they already paid for the satellite cable television services
21    from DirecTV, the indebtedness incurred in the amount demanded in the legal
22    correspondence sent by the Lonstein Defendants, the settlement payments and/or
23    civil judgments they paid, and/or the attorney's fees and costs which they incurred
24    as a result.
25           79.     Plaintiff and all others similarly situated are thus entitled to all
26    appropriate legal and equitable relief, an award of treble their ascertainable losses
27    and damages, plus actual damages, attorney’s fees, and costs pursuant to the
28    Business and Professions Code.

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 1                                     SECOND COUNT
 2                 (Racketeer Influenced and Corrupt Organizations Act)
 3          80.    Plaintiff re-asserts and incorporates by reference each and every
 4    allegation set forth in the preceding paragraphs as though set forth at length herein.
 5          81.    RICO provides that “It shall be unlawful for any person who has
 6    received any income derived, directly or indirectly, from a pattern of racketeering
 7    activity or through collection of an unlawful debt in which such person has
 8    participated as a principal within the meaning of Section 2, Title 18, United States
 9    Code, to use or invest, directly or indirectly, any part of such income, or the
10    proceeds of such income, in acquisition of any interest in, or the establishment or
11    operation of, any enterprise which is engaged in, or the activities of which affect,
12    interstate or foreign commerce.” 18 U.S.C. § 1962(a).
13          82.    RICO also provides that “It shall be unlawful for any person through a
14    pattern of racketeering activity or through collection of an unlawful debt to acquire
15    or maintain, directly or indirectly, any interest in or control of any enterprise which
16    is engaged in, or the activities of which affect, interstate or foreign commerce.” 18
17    U.S.C. § 1962(b).
18          83.    RICO further provides that “It shall be unlawful for any person
19    employed by or associated with any enterprise engaged in, or the activities of
20    which affect, interstate or foreign commerce, to conduct or participate, directly or
21    indirectly, in the conduct of such enterprises affairs through a pattern of
22    racketeering activity or collection of unlawful debt.” 18 U.S.C. § 1962(c).
23          84.    RICO also provides that “It shall be unlawful for any person to
24    conspire to violate any of the provisions of subsection (a), (b), or (c) of this
25    section.” 18 U.S.C. § 1962(d).
26          85.    At all relevant times, Defendants were "persons" within the meaning
27    of 18 U.S.C. § 1961(3), because they were individuals and/or entities capable of
28    holding a legal or beneficial interest in property.

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 1          86.    Defendants' scheme to defraud by improperly threatening Plaintiff and
 2    others similarly situated to her with prosecution and/or litigation for purportedly
 3    unauthorized use of satellite cable television services from DirecTV, and thereby
 4    receive money, in addition to the monthly fees which they already collected,
 5    including but not limited to, indebtedness, settlement payments, civil judgments
 6    and/or attorney's fees and costs either paid or to be paid, is a fraudulent practice,
 7    and is therefore a "racketeering activity" subject to RICO.
 8          87.    Defendants have engaged in a pattern of racketeering activity, and
 9    therefore have violated 18 U.S.C. § 1962(a), by receiving income from unlawful
10    debt, in the form of monthly fees, indebtedness, settlement payments, civil
11    judgments and/or attorney's fees and costs either paid or to be paid, in the operation
12    of an enterprise which is engaged in or the activities of which affect trade or
13    commerce.
14          88.    Defendants violated 18 U.S.C. § 1962(b) by acquiring or maintaining,
15    directly or indirectly, an interest in or control of enterprises which were engaged in
16    trade or commerce, through a pattern of racketeering activity or through collection
17    of an unlawful debt in the form of monthly fees, indebtedness, settlement
18    payments, civil judgments and/or attorney's fees and costs either paid or to be paid.
19          89.    Defendants violated 18 U.S.C. § 1962(c) by conducting or
20    participating, directly or indirectly, in the conduct of the affairs of an enterprise
21    engaged in trade or commerce through a pattern of racketeering activity or
22    collection of unlawful debt in the form of monthly fees, indebtedness, settlement
23    payments, civil judgments and/or attorney's fees and costs either paid or to be paid.
24          90.    Defendants violated 18 U.S.C. § 1962(d) by conspiring to engage in
25    racketeering activity.
26          91.    Defendants were used as a tool to carry out the scheme and pattern of
27    racketeering activity.
28    ///

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 1          92.    Defendants, individually and jointly, as part of an enterprise agreed to
 2    commit more than two racketeering acts, with knowledge that the objective was
 3    unlawful and intended to further that unlawful objective. The multiple acts of
 4    racketeering activity that they committed and/or conspired to, or aided and abetted
 5    in the commission of, were related to each other, pose a threat of continued
 6    racketeering activity, and therefore constitute a “pattern of racketeering activity.”
 7          93.    Defendants’ predicate acts of racketeering within the meaning of 18
 8    U.S.C. § 1961(1) include targeting and soliciting small business owners to
 9    purchase satellite cable television services from DirecTV at a "special" price or
10    rate; installing residential satellite cable television services in the small businesses
11    although Defendants knew or should have known that the small business owners
12    intended to use those services in their businesses; providing satellite cable
13    television to small businesses under residential accounts although the small
14    business owners relied upon Defendants to provide those services to their
15    businesses under the proper type of account so that they could use those services in
16    their businesses; deliberately and specifically targeting small business owners for a
17    "signal audit'' with a resulting manufactured and pre-determined finding that the
18    small business owners had "pirated" or "stolen" satellite cable television services
19    from DirecTV by using residential satellite cable television services which were
20    not authorized for commercial use; and threatening the small business owners with
21    prosecution and/or costly legal action for the purported theft of the satellite cable
22    television services in order to extort an unreasonable and unconscionable
23    "settlement" from them.
24          94.    Defendants’ predicate acts of racketeering amount to a material
25    scheme to defraud and to obtain money on false pretenses, misrepresentations,
26    promises, and/or omissions.
27          95.    Defendants       knowingly      and      intentionally     made      these
28    misrepresentations, acts of concealment and failures to disclose. Defendants either

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 1    knew or recklessly disregarded that these were material representations and
 2    omissions.
 3          96.    Plaintiff and those similarly situated to her have suffered harm from
 4    Defendants' violations of RICO in the amount of the monthly fees, indebtedness,
 5    settlement payments, civil judgments and/or attorney's fees and costs either paid or
 6    to be paid. In the absence of Defendants’ violations of 18 U.S.C. § 1962, Plaintiff
 7    and the Class would not have incurred these losses.
 8          97.    Plaintiff’s and the Class’s injuries were directly and proximately
 9    caused by Defendants’ racketeering activity.
10          98.    Defendants knew and intended that Plaintiff and the Class would rely
11    on the scheme’s fraudulent representations and omissions. Defendants knew and
12    intended Plaintiff and the Class would pay fees as a result of same.
13          99.    Plaintiff and all others similarly situated are thus entitled to all
14    appropriate legal and equitable relief, an award of treble their damages, plus
15    attorney's fees, and costs pursuant to 18 U.S.C. § 1964(c).
16          WHEREFORE, Plaintiff, on behalf of herself and all others similarly
17    situated, demands judgment against Defendants as follows:
18                 a. An order certifying the Class and Subclasses for declaratory and
19                    injunctive relief and for money damages under Federal Rules of
20                    Civil Procedure Rule 23 , and appointing Plaintiff as Class and
21                    Subclasses Representative and appointing her attorneys as Class
22                    Counsel;
23                 b. A declaratory judgment that Defendants violated the UCL and/or
24                    RICO;
25                 c. A judgment for injunctive relief enjoining Defendants from
26                    engaging in future violations of the UCL and/or RICO;
27                 d. A judgment for injunctive relief enjoining the Lonstein Defendants
28                    from engaging in future violations of the UCL and/or RICO;

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 1                e. An accounting of all amounts that Defendants collected from
 2                   Plaintiff and those similarly situated for the satellite cable
 3                   television services provided by DirecTV;
 4                f. An accounting of all amounts that Defendants collected from
 5                   Plaintiff and those similarly situated for alleged unauthorized use
 6                   of the satellite cable television services provided by DirecTV;
 7                g. A judgment for actual damages;
 8                h. A judgment for compensatory damages;
 9                i. A judgment for disgorgement of profits under the UCL;
10                j. A judgment for treble damages under RICO;
11                k. A judgment for reasonable attorney fees and costs of suit in
12                   connection with this action, pursuant to the UCL and/or RICO,
13                   California Civil Code 1021.5 and any other applicable statute;
14                l. A judgment for pre-judgment and post-judgment interest; and/or
15                m. (As an alternative to a judgment for damages) A judgment for
16                   injunctive relief requiring Defendants to send formal notice to all
17                   Class and Subclasses members, advising them of the declaratory
18                   ruling and of their right to seek remedies under the UCL and/or
19                   RICO, on their own and independent of this action; and
20                n. A judgment for all such other and further relief as the Court deems
21                   equitable and just.
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 1                                    JURY DEMAND
 2                Plaintiff demands a trial by jury on all issues subject to trial.
 3
 4    Dated: August 3, 2016           MAHONEY LAW GROUP, APC
 5
 6                                    /s/Kevin Mahoney
 7                                    Kevin Mahoney
                                      Katherine J. Odenbreit
 8                                    Atoy H. Wilson
 9                                    Attorneys for Plaintiff, DONEYDA PEREZ, and
                                      on behalf of all others similarly situated
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